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   8
   9                     IN THE UNITED STATES DISTRICT COURT
  10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11                                  EASTERN DIVISION
  12
  13
       THE CINCINNATI BENGALS, INC,               5:22-cv-00501-RGK-SK
  14   an Ohio Corporation; KANSAS
       CITY CHIEFS FOOTBALL CLUB,        MEMORANDUM OF POINTS
  15   INC., a Texas Corporation,        AND AUTHORITIES
                                         SUPPORTING ATTORNEY
  16                         Plaintiffs, GENERAL ROB BONTA’S
                                         MOTION TO INTERVENE AND
  17           v.                        TO DISMISS FIRST AMENDED
                                         COMPLAINT
  18   CHRIS MANDERINO, an Individual,
                                         Date:         June 27, 2022
  19                        Defendant. Time:           9:00 a.m.
                                         Courtroom: 850, 8th Floor
  20                                     Judge:        The Honorable R. Gary
                                                       Klausner
  21                                     Trial Date: Not set
                                         Action Filed: 3/18/2022
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   1                                     INTRODUCTION
   2        In this action, Plaintiffs The Cincinnati Bengals and Kansas City Chiefs
   3   Football Club bring a putative due process claim against Defendant Chris
   4   Manderino, whom they formerly employed as a professional athlete. Plaintiffs
   5   allege that Manderino filed a claim against them with the Workers’ Compensation
   6   Appeals Board in California (the Appeals Board), and contend that this violates
   7   their constitutional rights. Specifically, Plaintiffs contend that two provisions of
   8   California labor law, California Labor Code §§ 3600.5(a) and 5305, violate their
   9   due process rights to the extent they empower the Appeals Board to assert “personal
  10   jurisdiction” over them within California. Plaintiffs seek declaratory and injunctive
  11   relief that these provisions violate the Due Process Clause as applied to the claim
  12   filed by Manderino, and an order enjoining Manderino from prosecuting his claim.
  13   No state officer or agency is a party to this lawsuit.
  14        Under Federal Rule of Civil Procedure 5.1, Rob Bonta, in his official capacity
  15   as Attorney General of California, seeks to intervene as of right to defend the
  16   challenged state laws. And under Federal Rule of Civil Procedure 12, Attorney
  17   General Bonta requests that this Court dismiss the complaint for lack of subject
  18   matter jurisdiction and under the Anti-Injunction Act, or, alternatively, abstain from
  19   adjudicating the claim by Plaintiffs, per the abstention doctrine in Younger v.
  20   Harris.
  21                                     BACKGROUND
  22   I.   ALLEGATIONS OF THE OPERATIVE COMPLAINT.
  23        The Cincinnati Bengals filed suit against Chris Manderino, whom they
  24   previously employed as a professional football player, on March 18, 2022. (ECF
  25   No. 2.) An amended complaint (FAC) was filed on April 27, 2022, adding the
  26   Kansas City Chiefs Football Club as a co-Plaintiff. (ECF No. 14.)
  27        Plaintiffs claim that they “do not have the minimum contacts with California
  28   that must exist before this State may exercise personal jurisdiction over them,”

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   1   because inter alia, they were not organized under California law, do not conduct
   2   any business within the State, or hold any licenses or permits issued by a California
   3   governmental entity. (ECF No. 14 at 4-7 ¶¶ 11, 13-15.) Plaintiffs also allege that
   4   “there is no affiliation between California and the underlying controversy,” namely
   5   Manderino’s alleged workplace injury. (Id. at 5 ¶ 11.) Despite this, Defendant
   6   Manderino, a resident of California, filed a claim against Plaintiffs with the Appeals
   7   Board in California, under California Labor Code sections 3600.5(a) and 5305. (Id.
   8   at 4 ¶ 7.)1
   9        The FAC challenges California Labor Code sections 3600.5 and 5305,
  10   claiming that they violate the federal due process rights of the Plaintiffs. (ECF No.
  11   14 at 4 ¶ 8.) Because the challenged state laws “do[] not require that an employee’s
  12   injury occur in California or that the injury arise out of, or relate to the out-of-state
  13   defendant’s conduct in California,” the application of those statutes to the Bengals
  14   and Chiefs allegedly violates the requirement under due process “that personal
  15   jurisdiction be exercised over an out-of-state defendant only if the underlying
  16   controversy arises out of or relates to that defendant’s conduct in the forum state.”
  17   (Id. at 7 ¶ 17.) Plaintiffs seek declaratory and injunctive relief against Manderino,
  18   seeking to enjoin him from continuing to prosecute his administrative claims before
  19   the Appeals Board. (Id. at 9-10.) Plaintiffs bring as-applied challenges, seeking
  20   declaratory judgments that each state law section challenged “is invalid and
  21   unconstitutional as applied to the claim” brought by Manderino. (Id. at 10 ¶¶ 1-2.)
  22   The FAC alleges federal subject matter jurisdiction under 28 U.S.C. § 1331. (Id. at
  23   4 ¶ 9.)
  24        On March 18, 2022, the Plaintiffs filed a notice of constitutional challenge,
  25   and served it on the California Attorney General’s Office. (ECF No. 5.) Plaintiffs
  26   state that they challenge the provisions of the California Labor Code discussed
  27             1
               The FAC refers to a copy of Manderino’s claim before the Appeals Board
       attached as Exhibit A, but there is no attachment to the FAC. Manderino’s claim
  28   was attached as Exhibit A to the original complaint. (ECF No. 2.)
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   1   above “on the basis that they violate the Due Process Clause of the Fourteenth
   2   Amendment to the United States Constitution when applied to a party over whom
   3   there is no general personal jurisdiction in California.” (Id. at 2.)
   4
       II.   BACKGROUND REGARDING THE APPEALS BOARD AND STATE LAWS AT
   5         ISSUE.
   6         The California Workers’ Compensation Act grants the Appeals Board
   7   exclusive authority to hear claims “[f]or the recovery of [workers’] compensation,
   8   or concerning any right or liability arising out of or incidental thereto.” Cal. Labor
   9   Code § 5300(a); U.S. Fid. & Guar. Co. v. Lee Inv. LLC, 641 F.3d 1126, 1134 (9th
  10   Cir. 2011). The Appeals Board “is authorized to exercise judicial power in all
  11   disputes arising under the Workers’ Compensation Act as a constitutional court
  12   subject to general legal principles which circumscribe and regulate the judgments of
  13   all judicial tribunals.” Crawford v. Workers’ Comp. Appeals Bd., 213 Cal.App.3d
  14   156, 164 (Cal. Ct. App. 1989); Cal. Lab. Code § 111. As the California Court of
  15   Appeal has explained, the Appeals Board “exercises a portion of the judicial powers
  16   of the state and in legal effect is a court.” Fremont Indemnity Co. v. Workers’
  17   Comp. Appeals Bd., 153 Cal.App.3d 965, 971 (Cal. Ct. App. 1984), internal citation
  18   and quotation marks omitted.
  19         California Labor Code section 3600.5 is entitled “injuries in extraterritorial
  20   employment,” and provides that if an employee was hired or regularly employed in
  21   California and is injured “by accident arising out of and in the course of such
  22   employment outside this state,” he or she is entitled to compensation under the laws
  23   of California. Section 5305 provides that the Division of Workers’ Compensation
  24   (including the Appeals Board), has jurisdiction “over all controversies arising out of
  25   injuries suffered outside the territorial limits of this state,” as long as the injured
  26   employee is a resident of California at the time of the injury and the contract was
  27   made in this state. Reynolds Elec. & Eng’g Co. v. Workmen’s Comp. Appeals Bd.,
  28   65 Cal.2d 429, 431 (Cal. Ct. App. 1966); see also Janzen v. Workers’ Comp.
                                                   3
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   1   Appeals Bd., 61 Cal.App.4th 109, 113-14 (Cal. Ct. App. 1998).2
   2                                   LEGAL STANDARD
   3        A motion under Federal Rule of Civil Procedure 12(b)(1) challenges a federal
   4   court’s subject matter jurisdiction. “A federal court is presumed to lack jurisdiction
   5   in a particular case unless the contrary affirmatively appears.” Stock West, Inc. v.
   6   Confederated Tribes, 873 F.2d 1221, 1225 (9th Cir. 1989). A party invoking
   7   federal court jurisdiction bears the burden to establish that such jurisdiction exists.
   8   Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
   9        Under Federal Rule of Civil Procedure 12(b)(6), a complaint should be
  10   dismissed if it fails to state a claim upon which relief can be granted. A court
  11   should dismiss a complaint “if it fails to plead enough facts to state a claim to relief
  12   that is plausible in its face.” In re Cutera Sec. Litig., 610 F.3d 1103, 1107 (9th Cir.
  13   2010) (citation omitted).
  14                                       ARGUMENT
  15   I.   UNDER FEDERAL LAW, THE ATTORNEY GENERAL IS ENTITLED TO
            INTERVENE TO DEFEND STATE LAW.
  16
  17        Federal Rule of Civil Procedure 24 provides that “[o]n timely motion,” the
  18   court must permit anyone to intervene who “is given an unconditional right by a
  19   federal statute.” Fed. R. Civ. P. 24(a). Section 2403(b) of title 28 of the United
  20   States Code provides, in pertinent part:
  21        In any action, suit, or proceeding in a court of the United States to which
            a State or any agency, officer, or employee thereof is not a party, wherein
  22        the constitutionality of any statute of that State affecting the public
  23        interest is drawn in question, the court shall certify such fact to the
            attorney general of the State, and shall permit the State to intervene for
  24        presentation of evidence, if evidence is otherwise admissible in the case,
  25        and for argument on the question of constitutionality.

  26
  27         2
               The statutory requirement that the employee must be a resident of
       California has been deemed unconstitutional. Bowen v. Workers’ Comp. Appeals
  28   Bd., 73 Cal.App.4th 15, 20 n.6 (Cal. Ct. App. 1999).
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   1   28 U.S.C. § 2403(b). This statute confers upon the Attorney General an
   2   unconditional right to intervene, where as here, a party has challenged the
   3   constitutionality of a state statute. See Fordyce v. City of Seattle, 55 F.3d 436, 442
   4   (9th Cir.1995) (When neither a state nor “any agency, officer, or employee thereof”
   5   is a party to an action where the constitutionality of a state statute “is drawn in
   6   question,” a federal district court is required to notify the state attorney general and
   7   must “permit the State to intervene.”).3
   8         Here, Plaintiffs challenge provisions of California law pertaining to the
   9   Appeals Board, specifically California Labor Code sections 3600.5 and 5305, under
  10   the Due Process Clause. (ECF No. 14 at 4 ¶ 8.) No state officer or entity is
  11   currently a party to this action. Accordingly, the Attorney General may intervene
  12   as of right under Federal Rule of Civil Procedure 24(a)(1).
  13
       II.   THIS COURT LACKS SUBJECT MATTER JURISDICTION OVER
  14         PLAINTIFFS’ CLAIM, AND SHOULD DISMISS THE FAC.
  15         Initially, this Court lacks subject matter jurisdiction over Plaintiffs’
  16   preemptive attempt to oust the jurisdiction of the Appeals Board. The FAC alleges
  17   that the Appeals Board’s exercise of personal jurisdiction over Plaintiffs violates
  18   federal due process. (ECF No. 14 at 4 ¶ 8; id. at 8 ¶ 19.) Although there is no
  19   dispute that the Due Process Clause limits the exercise of personal jurisdiction over
  20   defendants under certain circumstances, there is no federal right to preemptively
  21   challenge a state court’s (or administrative agency’s) assertion of jurisdiction in an
  22   ongoing case, by filing a separate declaratory or injunctive relief challenge in
  23   federal court. To the contrary, federal courts consistently hold that a federal
  24          3
               Section 2403 is implemented through Federal Rule of Civil Procedure 5.1.
  25   Under Rule 5.1, a party that challenges the constitutionality of a state statute in a
       case in which “the parties do not include the state, one of its agencies, or one of its
  26   officers or employees in an official capacity” must “file a notice of constitutional
       question stating the question and identifying the paper that raises it.” Fed. R. Civ. P.
  27   5.1(a)(1)(B). The Attorney General “may intervene within 60 days after the notice
       of constitutional question is filed or after the court certifies the challenge.” Id.
  28   5.1(c).

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   1   defense is not a basis for subject matter jurisdiction under 28 U.S.C. § 1331.
   2   Accordingly, this Court should dismiss Plaintiffs’ claim for lack of subject matter
   3   jurisdiction.
   4        Plaintiffs claim that this Court has jurisdiction under 28 U.S.C. § 1331, or
   5   “arising under” jurisdiction. (ECF No. 14 at 4 ¶ 9.) District courts have original
   6   jurisdiction over “all civil actions arising under the Constitution, laws, or treaties of
   7   the United States.” 28 U.S.C. § 1331. “Generally, a suit ‘arises under’ the law that
   8   creates the cause of action.” Murphey v. Lanier, 997 F. Supp. 1348, 1349 (S.D.
   9   Cal. 1998). However, it is clearly established that there is no “arising under”
  10   jurisdiction for claims premised on a federal defense. Franchise Tax Bd. of State of
  11   Cal. v. Constr. Laborers Vacation Trust for Southern Cal., 463 U.S. 1, 10-11
  12   (1983); see, e.g., Ten Taxpayer Citizens Grp. v. Cape Wind Assoc., LLC, 373 F.3d
  13   183, 191 (1st Cir. 2004) (“It is hornbook law that a federal defense does not confer
  14   ‘arising under’ jurisdiction, regardless whether that defense is anticipated in the
  15   plaintiff’s complaint.”). As the Supreme Court pointed out in a similar scenario, “a
  16   suit brought upon a state statute does not arise under an act of Congress or the
  17   Constitution of the United States because prohibited thereby.” Gully v. First Nat’l
  18   Bank, 299 U.S. 109, 116 (1936).
  19        Here, the basis of this dispute is the claim for workers’ compensation injury
  20   filed by Defendant Manderino with the Appeals Board, which is founded on
  21   Manderino’s asserted right to workers’ compensation benefits under California law.
  22   (ECF No. 14 at 4 ¶ 7.) Plaintiffs’ claim before this Court is that they have a federal
  23   due process right not to be haled into proceedings before the Appeals Board, which
  24   is tantamount to a purported right not to be sued in California. (Id. at 3 ¶ 4 [“The
  25   Bengals and the Chiefs bring this action to dispute and contest Defendant
  26   Manderino’s efforts to invoke California’s exercise of personal jurisdiction over
  27   them in a claim which Manderino filed against them at the California Workers’
  28   Compensation Appeals Board”]; id. at 4 ¶ 8.) But that federal defense is not
                                                  6
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   1   sufficient to bestow subject matter jurisdiction on this Court. Plaintiffs must raise
   2   their constitutional challenges before the Appeals Board, or in state court, as
   3   necessary. See, e.g., Janzen, 61 Cal.App.4th at 116 (discussing personal
   4   jurisdiction challenge within context of proceedings before the Appeals Board);
   5   Tripplett v. Workers’ Comp. Appeals Bd., 25 Cal.App.5th 556, 566-67 (Cal. Ct.
   6   App. 2018).
   7        Notably, although not directly relevant here because this case was not
   8   removed from state court, federal law indicates a broad policy to have workers’
   9   compensation issues adjudicated in state proceedings. Specifically, 28 U.S.C.
  10   section 1445(c) states that “[a] civil action in any State court arising under the
  11   workmen’s compensation laws of such State may not be removed to any district
  12   court of the United States.” As the Ninth Circuit explained, this statute “protects
  13   the plaintiff, and nonconsenting defendants, from having the plaintiff’s choice of a
  14   state-court forum disturbed” in cases involving claims under the workers’
  15   compensation laws of a state. Vasquez v. North Cty. Transit Dist., 292 F.3d 1049,
  16   1061 (9th Cir. 2002). Two policy rationales underlie this restriction: (1) Congress’
  17   “concern for the states’ interest in administering their own workers’ compensation
  18   schemes;” and (2) Congress’ concern that removal of workers’ compensation cases
  19   from state courts would greatly increase the workload of federal courts. Id. at 1061
  20   n.6 (citation omitted); Zurich Am. Ins. Co. v. Gen. Motors Corp. 242 F. Supp. 2d.
  21   736, 737 (E.D. Cal. 2003).
  22
       III. THE ANTI-INJUNCTION ACT BARS THE PLAINTIFFS’ REQUESTED
  23        INJUNCTIVE AND DECLARATORY RELIEF AGAINST STATE JUDICIAL
            PROCEEDINGS.
  24
  25        Plaintiffs seek an order from this Court enjoining Defendant Manderino from
  26   proceeding with his claim pending before the Appeals Board. (ECF No. 14 at 10 ¶¶
  27   3-4.) But under the Anti-Injunction Act, this Court is barred from enjoining the
  28   state judicial proceedings.
                                                 7
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   1        The Anti-Injunction Act, 28 U.S.C. § 2283, “is an absolute prohibition against
   2   enjoining state court proceedings, unless the injunction falls within one of three
   3   specifically defined exceptions.” Atl. Coast Line R.R. Co. v. Bhd. Of Locomotive
   4   Eng’rs, 398 U.S. 281, 286 (1970). The general presumption is thus that
   5   “[p]roceedings in state courts should normally be allowed to continue unimpaired
   6   by intervention of the lower federal courts, with relief from error, if any, through
   7   the state appellate courts,” and ultimately, the United States Supreme Court. Id. at
   8   287. The statute’s exceptions are narrowly construed, and “doubts as to the
   9   propriety of a federal injunction against state court proceedings should be resolved
  10   in favor of permitting the state courts to proceed in an orderly fashion to finally
  11   determine the controversy.” Id. at 297.
  12        Further, although Plaintiffs request injunctive relief against Defendant
  13   Manderino, the Anti-Injunction Act bar applies even where “the injunction would
  14   technically be directed at a litigant instead of the state court proceeding itself.”
  15   Quackenbush v. Allstate Ins. Co., 121 F.3d 1372, 1377 (9th Cir. 1997). And it
  16   applies to declaratory relief if it would have the same effect as an injunction.
  17   California v. Randtron, 284 F.3d 969, 975 (9th Cir. 2002). Thus, it bars Plaintiffs’
  18   request to enjoin the actions of Defendant Kevin Manderino in bringing and
  19   continuing to prosecute his claim before the Appeals Board.
  20        A party seeking an injunction against state court actions must establish that the
  21   situation fits into one of the statute’s exceptions: “A court of the United States may
  22   not grant an injunction to stay proceedings in a State court except as expressly
  23   authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to
  24   protect or effectuate its judgments.” 28 U.S.C. § 2283. But Plaintiffs’ FAC does
  25   not demonstrate that any of these exceptions apply here. (See generally ECF No.
  26   14.) That Plaintiffs raise a due process challenge to the jurisdiction of the Appeals
  27   Board does not undermine applicability of the Anti-Injunction Act. Atl. Coast Line
  28   R.R. Co., 398 U.S. at 294 (noting that “a federal court does not have inherent power
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   1   to ignore the limitations of § 2283 and to enjoin state court proceedings merely
   2   because those proceedings interfere with a protected federal right or invade an area
   3   preempted by federal law”).
   4        To be sure, in Bud Antle, Inc. v. Barbosa, 45 F.3d 1261 (9th Cir. 1994), the
   5   Ninth Circuit held that the Anti-Injunction Act does not bar injunctions against
   6   administrative agencies. At issue there was whether a federal court could enjoin
   7   proceedings before the California Agricultural Labor Relations Board, a state
   8   agency that administers the Agricultural Labor Relations Act. Id. at 1264, 1271.
   9   But the Appeals Board is not an administrative agency, and instead is judicial in
  10   nature, since its role is to adjudicate disputes regarding entitlement to workers’
  11   compensation benefits. Fremont Indemnity Co. v. Workers’ Comp. Appeals Bd.,
  12   153 Cal.App.3d 965, 974 (Cal. Ct. App. 1984) (members of the Workers’
  13   Compensation Appeals Board “are officers of a judicial system performing judicial
  14   functions”); Ezzy v. Workers’ Comp. Appeals Bd., 146 Cal.App.3d 252, 261 fn.4
  15   (Cal. Ct. App. 1983) (“Decisions of the Worker’s Compensation Appeals Board are
  16   ‘judicial’ in nature.”). Other California administrative appeals boards are similarly
  17   treated as judicial bodies. Cty. of Sacramento v. Assessment Appeals Bd. No. 2, 32
  18   Cal.App.3d 654, 663 (Cal. Ct. App. 1973) (referring to Assessment Appeals Board
  19   under California law as a “quasi-judicial body”); Rick’s Elec. Inc. v. Cal.
  20   Occupational Safety & Health Appeals Bd., 80 Cal.App.4th 1023, 1027 (Cal. Ct.
  21   App. 2000) (“The [California Occupational Safety and Health Appeals] Board is an
  22   independent adjudicatory agency responsible, among other matters, for resolving
  23   appeals from citations.”). Because proceedings in the Appeals Board are judicial in
  24   nature, they are entitled to protection under the Anti-Injunction Act. “We shall
  25   assume . . . that some of the powers of the commission are judicial, and we shall
  26   assume, without deciding, that, if it was proceeding against the appellees to enforce
  27   this order and to punish them for a breach, it then would be sitting as a court and
  28   would be protected from interference on the part of the courts of the United States.”
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   1   Prentis v. Atl. Coast Line Co., 211 U.S. 210, 226 (1908); NOPSI v. Council of City
   2   of New Orleans, 491 U.S. 350, 370-73 (1989).
   3        In short, the Anti-Injunction Act bars this Court from enjoining the ongoing
   4   state proceedings at the Appeals Board, challenged by Plaintiffs.
   5
       IV. THIS COURT SHOULD ABSTAIN FROM ADJUDICATING PLAINTIFFS’
   6       CLAIMS UNDER YOUNGER V. HARRIS.
   7        Alternatively, if the Court determines that it has subject matter jurisdiction
   8   over Plaintiffs’ claims, the Court should abstain from addressing the claim in the
   9   FAC in deference to the ongoing state proceedings.
  10        As a general rule, federal courts should refrain from intervening in ongoing
  11   state judicial proceedings. Younger v. Harris, 401 U.S. 37, 45 (1971); Hirsh v.
  12   Justices of Sup. Ct. of State of Cal., 67 F.3d 708, 712 (9th Cir. 1995) (per curiam)
  13   (“Younger and its progeny generally direct federal courts to abstain from granting
  14   injunctive or declaratory relief that would interfere with pending state judicial
  15   proceedings.”). This abstention doctrine derives from principles of equity, comity,
  16   and federalism. San Jose Silicon Valley Chamber of Commerce Political Action
  17   Comm. v. City of San Jose, 546 F.3d 1087, 1091 (9th Cir. 2008).
  18        A federal court must abstain if three conditions are met: 1) the state
  19   proceedings are ongoing; 2) the proceedings implicate important state interests; and
  20   3) the state proceedings provide an adequate opportunity to litigate the plaintiff’s
  21   federal constitutional claims. Middlesex Cty. Ethics Comm. v. Garden State Bar
  22   Ass’n, 457 U.S. 423, 432 (1982). Additionally, the Ninth Circuit requires for
  23   abstention that the federal proceeding “would enjoin the [state] proceeding or have
  24   the practical effect of doing so.” San Jose Silicon Valley Chamber of Commerce
  25   Political Action Committee, 546 F.3d at 1092.
  26        Here, as the FAC notes, proceedings before the Appeals Board are ongoing.
  27   (ECF No. 14 at 4 ¶ 7.) And those proceedings implicate the paramount state
  28   interest in protecting the rights of state employees and their entitlement to workers’
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   1   compensation under state law, an issue that is extensively regulated in California.
   2   De Canas v. Bica, 424 U.S. 351, 356 (1976) (“States possess broad authority under
   3   their police powers to regulate the employment relationship to protect workers
   4   within the State,” citing “workmen’s compensation laws”). In fact, federal courts
   5   routinely abstain from hearing challenges to proceedings before state workers’
   6   compensation boards. See, e.g., Johnson v. Telew, No. 06-6297-AA, 2007 WL
   7   414346, at **2-3 (D. Or. Feb. 2, 2007) (concluding that Younger abstention applied
   8   in case seeking federal court intervention or invalidation of pending state workers’
   9   compensation claim); Hartford Enter., Inc. v. Coty, 529 F. Supp. 2d 95 (D. Me.
  10   2008); Hamrick v. Farmers Alliance Mut. Ins. Co., No. 03-4202-JAR, 2004 WL
  11   955273, at *10 (D. Kan. Apr. 27, 2004) (district court “conclud[ing] that it is
  12   obligated to abstain from enjoining the state court workers’ compensation
  13   proceedings under Younger v. Harris”). Further, Plaintiffs have received notice and
  14   an opportunity to participate in those proceedings, (ECF No. 14 at 4 ¶ 7; ECF No. 2
  15   Exh. A), and thus these proceedings “provide an adequate opportunity” to litigate
  16   the federal claims. Moore v. Sims, 442 U.S. 415, 425-26 (1979) (“Certainly,
  17   abstention is appropriate unless state law clearly bars the interposition of the
  18   constitutional claims.”); Hirsh, 67 F.3d at 713 (for Younger abstention purposes,
  19   state “[j]udicial review is inadequate only when state procedural law bars
  20   presentation of the federal claims.”).
  21         Accordingly, even if this Court concludes that the Anti-Injunction Act does
  22   not prohibit the relief sought, it should abstain from hearing the claims pending
  23   completion of the proceedings in the Appeals Board and any subsequent
  24   proceedings in state court.
  25   ///
  26   ///
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   1                                    CONCLUSION
   2        For these reasons, the Court should grant the motion to intervene by Attorney
   3   General Bonta, and dismiss the FAC.
   4
   5
       Dated: May 17, 2022                         Respectfully submitted,
   6
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   9
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  12                                               his official capacity as Attorney
                                                   General of California
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